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 5   Attorney for Defendants, Richard McCann,
     Kevin Abernathy and Kenneth Kerby
 6

 7
                                  UNITED STATES DISTRICT COURT
 8
                                             DISTRICT OF NEVADA
 9

10
      LATESHA WATSON,                                 Case No.: 2:20-cv-01761-APG-BNW
11
                                Plaintiff,
12    vs.                                             STIPULATION AND ORDER TO EXTEND
                                                      TIME FOR DEFENDANT RICHARD
13    CITY OF HENDERSON; BRISTOL                      McCANN TO RESPOND TO PLAINTIFF’S
      ELLINGTON; KEVIN ABERNATHY;                     COMPLAINT
14    KENNETH KERBY; DEBRA MARCH;
      RICHARD DERRICK; RICHARD                        (First Request)
15    MCCANN; NICK VASKOV; KRISTINA
      GILMORE; DOES I through X, inclusive,
16
                                 Defendants.
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19
             Defendant Richard McCann, by and through his counsel of record, the law firm of Clark
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     Hill, PLLC, and Plaintiff Latesha Watson, by and through her counsel of record, Cook & Kelesis,
21
     Ltd., hereby stipulate to the following:
22           Plaintiff filed her Complaint [ECF 1] in the above matter on September 22, 2020 and
23   served said Complaint upon Defendant Richard McCann on October 26, 2020. This Defendant’s
24   response to the Complaint is currently due on November 16, 2020. This Defendant requested and
25   Plaintiff agreed to stipulate, pursuant to IA Rule 6-1 of the Local Rules for the United States
26   District Court District of Nevada, to an extension up through and including December 18, 2020

27   for Richard McCann to file a response to the Complaint.

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 1          This extension is requested to provide this Defendant additional time to investigate the

 2   allegations set forth in the Complaint and prepare an appropriate response. This extension is

 3   made in good faith and is not made for the purpose of delay.

 4          IT IS SO STIPULATED on this 28 day of October, 2020.

 5   COOK & KELESIS, LTD.                              CLARK HILL PLLC

 6
     By: /s/ Marc P. Cook                              By: /s/ Nicholas M. Wieczorek
 7
        Marc P. Cook, Nevada Bar No. 4574                 Nicholas M. Wieczorek
 8      George P. Kelesis, Nevada Bar No. 00069           Nevada Bar No. 6170
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12      Attorneys for Plaintiff, Latesha Watson           Attorneys for Defendants, Richard McCann,
                                                          Kevin Abernathy and Kenneth Kirby
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14
        IT IS SO ORDERED
15                                              ORDER
          IT IS 4:25
        DATED:  SO ORDERED.
                     pm, October 30, 2020
16

17
                                                 _______________________________________
18      BRENDA WEKSLER             U.S. DISTRICT COURT JUDGE
        UNITED STATES MAGISTRATE JUDGE
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